                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

PERDUE PREMIUM MEAT COMPANY,                     )
INC., D/B/A NIMAN RANCH,                         )
                                                 )
               PLAINTIFF,                        )
                                                 )
vs.                                              )   Case No. 6:22-cv-03009-MDH
                                                 )
MISSOURI PRIME BEEF PACKERS, LLC                 )
                                                 )
and                                              )
                                                 )
NEXTGEN CATTLE COMPANY, LLC                      )
                                                 )
               DEFENDANTS.                       )

                      VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES NOW Plaintiff, by and through counsel of record, and hereby voluntarily

dismisses the above-captioned matter with prejudice to the refiling thereof. Each party shall bear

their own attorneys’ fees and court costs.

                                                     NEALE & NEWMAN, L.L.P.

                                                     By: /s/ Bryan D. Fisher               _
                                                         Bryan D. Fisher, #65904

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                                CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served electronically to those parties
who have entered an appearance in the Court’s Electronic Court Filing (ECF) System and
conventionally, via first-class mail, postage prepaid, to those parties who have requested notice
but are not participating in the ECF System, on this 27th day of July, 2022.

                                                    NEALE & NEWMAN, L.L.P.

                                                    By: /s/ Bryan D. Fisher               _
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